UNITED STATES DISTRICT COURT
WESTERN DISTRICT OF NORTH CAROLINA

TERI LYNN HINKLE,
Plaintiff,
vs.
EQUIFAX, INC., and EQUIFAX
INFORMATION SERVICES, LLC

Defendants.

(Asheville)

Case No.: 1218-cv-00007-MR-DLH

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NOTICE OF SETTLEMENT

PlaintiH`, Teri Lynn Hinkle and Equifax Inc. and Equifax Information Services LLC

(“Equifax”), notify the Court that Plaintiff and Equifax have Settled all claims between them in

this matter and are in the process of completing the final closing documents and filing the

dismissal, which they expect to complete on or before December 1, 2018.

 

440 Beaver Ridge Road

Murphy, NC 28906

Telephone: (828) 494-2007
E-Mail:queensongbird@gmail.com
Pro Se Plaintiff

/s/ BradleyJ. Lingo
Bradley J. Lingo

North Carolina Bar No. 44018

300 South Tryon Street

Suite 1700

Charlotte, North Carolina 28202

Tel: (704) 503-2573

Attorneys for Defendant Equifax Inc. and Equifax
Information Services LLC

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